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                       IN THE UNITED STATES BANKRUPTCY COURT
                              WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

   IN RE:                                        §
                                                 §            Case No. 19-50902-CAG
   AAF PLAYERS, LLC,                             §
                                                 §            Chapter 7
           Debtor.                               §

                           NOTICE OF APPEARANCE AND REQUEST
                           FOR NOTICES AND SERVICE OF PAPERS

          PLEASE TAKE NOTICE that Dundon Capital Partners, LLC (“DCP”) and Thomas G.

  Dundon, creditors and parties-in-interest in the above-referenced matter (the “Case”), by and

  through their counsel, Bell Nunnally & Martin LLP and Branscomb | PC, files this Notice Of

  Appearance And Request For Notices and Service of Papers for their counsel of record in this

  Case, pursuant to 11 U.S.C. § 1109(b), 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code), and Fed.

  R. Bankr. P. 2002, 3017(a), 9007, and 9010(b) (the “Bankruptcy Rules”). All such notices given

  or required to be given in this Case, and all papers served or required to be served in this Case be

  addressed as follows:

                                           Russell W. Mills
                                    Bell Nunnally & Martin LLP
                                    2323 Ross Avenue, Suite 1900
                                         Dallas, Texas 75201
                                      214.740.1400 (Telephone)
                                       214.740.1499 (Facsimile)
                                  rmills@bellnunnally.com (E-mail)

                                                     and

                                          Patrick H. Autry
                                           Branscomb | PC
                                   8023 Vantage Drive, Suite 560
                                      San Antonio, Texas 78230
                                      210.598.5400 (Telephone)
                                       210.598.5405 (Facsimile)
                                 pautry@branscombpc.com (E-mail)


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          PLEASE TAKE FURTHER NOTICE that pursuant to section 1109(b) of the

  Bankruptcy Code, this request includes not only the notices, pleadings, filings, and papers referred

  to in the above-referenced Bankruptcy Rules, but also includes, without limitation, the Debtors’

  schedules, and statement and all supplements thereto, and any and all plans, letters,

  correspondence, applications, motions, complaints, objections, claims, demands, hearing notices,

  or requests, whether formal or informal, whether oral or in writing, which may be filed, submitted,

  transmitted, or conveyed to the Bankruptcy Clerk, Bankruptcy Court, or Bankruptcy Judge (as

  such terms are used and defined in Bankruptcy Rule 9001) in connection with this bankruptcy case

  and any proceedings related thereto or arising therefrom.

          PLEASE TAKE FURTHER NOTICE that neither this notice of appearance nor any later

  appearance, pleading, claim, or suit shall be deemed to waive any of DCP’s or Thomas G.

  Dundon’s substantive rights, including, without limitation, the right (1) to have final orders in non-

  core matters entered only after de novo review by a district court judge, (2) to trial by jury in any

  proceedings so triable in this Case or any case, controversy, or proceeding related to this Case, (3)

  to have the United States District Court for the Western District of Texas withdraw the reference

  in any matter subject to mandatory or discretionary withdrawal or the right to seek abstention in

  favor or any state court or (4) to assert other rights, claims, actions, defenses, setoffs, or

  recoupments to which DCP and Thomas G. Dundon are or may be entitled to under agreements,

  in law, or in equity, all of which rights, claims, actions, defenses, setoffs, and recoupments

  expressly are hereby reserved. Nor shall this request for notice be deemed to constitute consent to

  electronic service of any pleading or papers for which mailed or personal service is required under

  the applicable Bankruptcy Rules or Federal Rules of Civil Procedure.




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  Dated: June 24, 2019.                          Respectfully submitted,

                                                        BELL NUNNALLY & MARTIN, LLP

                                                        /s/ Russell W. Mills
                                                        Russell W. Mills
                                                        Texas State Bar No. 00784609
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                                                        Dallas, Texas 75201
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                                                        -and-

                                                        BRANSCOMB | PC

                                                        /s/ Patrick H. Autry
                                                        Patrick H. Autry
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                                                        8023 Vantage Drive, Suite 560
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                                                        pautry@branscombpc.com

                                                        ATTORNEYS FOR DUNDON
                                                        CAPITAL PARTNERS, LLC AND
                                                        THOMAS G. DUNDON


                                    CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the Notice of Appearance
  and Request for Notices was electronically filed on this 24th day of June 2019, and served via
  CM/ECF on all parties requesting electronic notification in this case.

                                                        /s/ Russell W. Mills
                                                        Russell W. Mills




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